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                               UNITED STATES DISTRICT COURT
                                                                                  ocr 1 2 2016
                               EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division                 CLERK. U.S. DISTRICT COURT
                                                                               ALEXANDRIA, VIRGINIA

UNITED STATES OF AMERICA


       V.



RUSLANS BONDARS,
       a/k/a, "Ruslan Bondar,"                   Criminal No. 1:16-cr-228

       and
                                                 UNDER SEAL
JURIJS MARTI§EVS,
       a/k/a, "Yury Martyshev," "Jurijs
       Bereverovs,"

                  Defendants



                       GOVERNMENT'S MOTION TO SEAL INDICTMENT
                            PURSUANT TO LOCAL RULE 49(B)


       The United States, by and through undersigned counsel, pursuant to Local Rule 49(B) of

the Local Criminal Rules for the United States District Court for the Eastern District of Virginia,

asks for an Order to Seal the indictment and arrest warrants in this matter, this Motion to Seal

and proposed Order until further order of the Court.

I.     REASONS FOR SEALING (Local Rule 49(B)(1))

        1.        The Federal Bureau of Investigation (FBI) is investigating a conspiracy to commit

computer intrusions and wire fraud in violation of 18 U.S.C. §§ 371 and 1349, as described in

the indictment.



       2.         Premature disclosure of the charges against the defendants would jeopardize an

ongoing criminal investigation threatening our ability to locate and arrest the defendants,

jeopardize the safety or cooperation of confidential witnesses, and could lead to the destruction of


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evidence. In particular, the defendants are Latvian nationals residing in Latvia and Russia,

respectively, and are sophisticated cybercriminals who are likely to search publicly-available

information to determine whether they are under investigation and indictment in the United States.

Notice of the indictment and arrest warrant would likely cause the defendants to avoid foreign

travel and take other steps to prevent their apprehension and extradition, and to destroy evidence

by, for example, moving or encrypting servers that service their criminal organization.     Another

procedure will not adequately protect the needs of law enforcement at this time because, due to

the sophistication of the defendants, they are likely to search for and find any publically available

indictment charging them with crimes. Therefore, any procedure short of sealing the indictment

is not likely to be effective in preventing the defendants from learning that they are being

investigated and have been indicted.

II.    REFERENCES TO GOVERNING CASE LAW (Local Rule 49(B)(2))

       3.      The Court has the inherent power to seal indictments. S^ United States v.

Wuagneux. 683 F.2d 1343,1351 (11'^ Cir. 1982); State of Arizona v. Mavpennv. 672 F.2d 761,

765 (9^'' Cir. 1982); Times Mirror Companv v. United States. 873 F.2d 1210 (9^ Cir. 1989);
also Shea v. Gabriel. 520 F.2d 879      Cir. 1975); United States v. Hubbard. 650 F.2d 293 (D.C.

Cir. 1980); In re Brauehton. 520 F.2d 765, 766 (9^"^ Cir. 1975). "The trial court has supervisory

power over its own records and may, in its discretion, seal documents if the public's right of

access isoutweighed by competing interests." In reKnight Pub. Co.. 743 F.2d 231,235 (4^ Cir.
1984). Sealing the indictment is appropriate where there is a substantial probability that the

release of the sealed documents would compromise the government's on-going investigation

severely. S^ e^g^ In re Search Warrant for Secretarial Area Outside Office of Gunn. 855 F.2d

569, 574 (8'*' Cir. 1988); Matter of Eve Care Phvsicians of America. 100 F.3d 514, 518 (7^ Cir.
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1996); Matter of Flower Aviation of Kansas. Inc.. 789 F.Supp. 366 (D. Kan. 1992).

III.    PERIOD OF TIME GOVERNMENT SEEKS TO HAVE MATTER REMAIN
        UNDER SEAL (Local Rule 49(B)(3))

        4.     The indictment and arrest warrants would need to remain sealed until the United

States moves to unseal this matter, except that these documents may be provided to the Federal

Bureau of Investigation (FBI) and foreign and domestic law enforcement and diplomatic

personal as necessary to execute the arrestwarrant and/or cause the apprehension and extradition

of the defendant.

        5.     Upon occurrenceof the event specified in paragraph 4, pursuant to Local Rule

49(B)(3), the sealed materials will be automatically unsealed and handled as such.

        6.     The United States has considered alternatives less drastic than sealing and has

found none that would suffice to protect this investigation.

        WHEREFORE, the United States respectfully requests that the indictment and arrest

warrants, together with this Motion to Seal and proposed Order, be sealed until further order of

the Court.

                                                      Respectfully submitted,

                                                      Dana J. Boente
                                                      United States Attorney

                                              By;
                                                      Kellen S. Dwyei
                                                      Assistant United States Attorney
